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UNITED sTATEs DISTRICT coURT
for Fii.Eo sr gale D-C-

WE.STERN DISTRICT OF TENNESSEE 05 hug 25 PH m 36

U. S. A. vs. DINAH L. DOLLAHITE Docket No. 2:0 4

    

Petition on Probation and Supervised Release

COMES NOW Nicole D. Peterson PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Dinah L. Dollahite Who was placed on supervision by the Honorable Julia
Smith Gibbons sitting in the Court at Memphis. TN on the 24th day of August, 20()£_ who fixed the period of
supervision at three [3 1 years* , and imposed the general terms and conditions theretofore adopted by the Court and also
imposed special conditions and terms as follows:

 

(l) The defendant shall make full financial disclosure as directed by the probation office
(2) The defendant shall make no new financial transactions without prior approval of the probation office.
(3) The defendant’s employment shall be approved by the probation office.

(4) ihe defendant shall participate in Mental Health counseling and treatment as deemed appropriate by the probation
oiiice.

(5) The defendant shall pay restitution in the amount of $35,900.00 (remaining balance: $35,650.00).
* Term of Supervised Release began on September 6, 2002.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Ms. Dollahite has failed to satisfy her restitution obligation of $35,900.00. She continues to owe a balance of $35,650.00. During
her term of supervision, Ms. Dollahite lost herjob and it was difficult to find another. She did obtain employment, but has recently
had her hours reduced. When possible, Ms. Dollahite made payments of $50.00 to $150.00 per month. A review of her finances
indicated that she would be able to pay $50.00 monthly toward her outstanding financial obligation She has signed an agreement
with the U.S. Attorney’s Office/Financial Litigation Unit and will start making payments on September 1 0, 2005 in the amount
of $50.00 monthly toward her restitution

PRAYING THA'I` THE COURT WILL ORI)ER that Ms. Dollahite’s tenn of` Supervised Reiease be allowed to
terminate as scheduled on September 5, 2005 with the understanding that the U.S. Attorney’s Ofiice/Financial Litigation
Unit will be responsible for the continued collection of restitution

ORDER OF COURT _l\%e.spectfully,
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Considered and ordered this 35 day

 

  

 

 

 

 

of` , 20 O\ , and ordered filed 0 .505`{`® cg Nicole D. Peterson
and _ records in the above O~;\\Y":Gi? § United States Probation Ofiicer
C e (3{§‘» n 7 ' ‘<`
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. \ ,,-<\‘» ” `;\`.hi% ' Place: Memphls, TN
U ited States District Judge 't%gc\> %\,b§" `
.\\'€\\: @§% Date: August 19. 2005

""DISICT COURT - WESERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 22 in
case 2:0]-CR-20029 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

